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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

          vs.                                              No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.

                                       NOTICE OF HEARING

         PLEASE TAKE NOTICE that on Friday, June 21, 2024, at 10:00 a.m., or as soon thereafter

  as counsel may be heard, Defendant, Google LLC (“Google”), will present oral argument in

  support of its Motion to Dismiss the United States’ Damages Claim as Moot and to Strike the Jury

  Demand.
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  Dated: May 16, 2024                   Respectfully submitted,

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